Case 4:09-cr-00043-SPF Document 429 Filed in USDC ND/OK on 11/19/10 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OKLAHOMA

                                    TRANSMITTAL SHEET
                                   (Notice of Appellate Action)

Date Notice filed: 11-17-2010

Style of Case: USA v Lindsey Kent Springer

Appellant: Lindsey Kent Springer

District Court No: 09-CR-43-SPF

Tenth Circuit Case No:

[ ] Amended NOA                               [ ] Cross Appeal

[ ] Interlocutory Appeal                      [ ] Successive Petition (2254 or 2255) (no fee)

Notice of appeal is enclosed to all parties (except to appellant in civil cases); Notice of Appeal,
docket entries and district court order are enclosed to 10th Circuit Court of Appeals:

District Court Judge: Stephen P. Friot, U.S. District Judge

       APPEAL FILED BY PRO SE
       Appeal Fee Paid                                         []
       Motion for IFP on Appeal Form Mailed/Given              [x]
       Motion for IFP on Appeal Filed                          []


       APPEAL FILED BY COUNSEL
       Appeal Fee Paid                                         []
       Motion for IFP on Appeal Form Made Available            []
       Motion for IFP on Appeal Filed                          []
       Court Appointed Counsel                                 []
       USA                                                     []


Signature of: S. Turner, Deputy Clerk                 November 19, 2010 Phone: (918) 699-4700

                                                                                            AP-01 (7/09)
